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IN THE UNITED STATES DISTRICT COURT JUL 23 2013
FOR THE SOUTHERN DISTRICT OF IOWA CLERK OF DISTRICT COURT
SOUTHERN DISTRICT OF IOWA
)
UNITED STATES OF AMERICA, )
) Criminal No. 4:13-CR-088
Vv. )
) INDICTMENT
SEAN MICHAEL WARD, )
)  T.18 U.S.C. § 922(8)(1)
)  -T.18 U.S.C. § 924(a)(2)
Defendant. )  -T.18 U.S.C. § 924(d)
)  -T.28 U.S.C. § 2461(c)

THE GRAND JURY CHARGES:
COUNT 1
(Felon in Possession of a Firearm)

On or about January 26, 2013, in the Southern District of Iowa, the Defendant, SEAN
MICHAEL WARD having been convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly possess, in and affecting interstate commerce, a firearm, that is
a RG Industries, model RG14 .22 caliber revolver and ammunition.

This is a violation of Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

THE GRAND JURY FINDS:
Notice of Forfeiture
Upon conviction for the offense alleged in this Indictment, the defendant shall

forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,
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United States Code, Section 2461(c), the firearms and ammunition involved in the commission of
offense charged in this Indictment.
A TRUE BILL.

/s/ Foreperson
FOREPERSON

Nicholas A. Klinefeldt
United States Attorney

By: _/s/ Cliff Wendel
Cliff Wendel
Assistant United States Attorney
